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               Exhibit B
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 Alabama to lose another rural hospital
 Georgiana Medical Center the latest to announce it will close




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 Georgiana Medical Center to close


 By WSFA Sta | February 11, 2019 at 3:55 PM CST - Updated February 11 at 7:44 PM

 GEORGIANA, AL (WSFA) - One of the two hospitals serving the Butler County community will close its doors in
 just over a month, the latest hospital to shutter its doors in rural Alabama.

 Ivy Creek of Butler, owners of Georgiana Medical Center, con rmed Monday it will close the facility on March
 31.

 “The rising costs of healthcare coupled with the cuts in reimbursement have made it impractical to maintain
  nancial viability with two hospitals operating in Butler County,” said Ivy Creek CEO Mike Bruce.

 The county’s other hospital, LV Stabler in Greenville, will partner with Ivy Creek to manage its rural health
 clinics.




http://www.wsfa.com/2019/02/11/alabama-lose-another-rural-hospital/                                              1/7
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 The two will combine their once-competing home health agencies under Ivy Creek’s direction “to provide more
 ef cient and effective care.” The creation of the new home health organization, which will be called Ivy Creek
 of Butler Home Health, will take effect in the next 90 days, of cials said, “with no signi cant changes.”

 “Small hospitals, in particular those in Alabama’s underserved, rural counties, are under tremendous nancial
 pressure,” said LV Stabler Interim CEO Connie Nicholas. “We’ve seen other hospitals across the state forced to
 close their doors.”

 After March 31, Ivy Creek’s ceased operations at the Georgiana Medical Center building on Miranda Avenue
 means patients will be directed to LV Stabler or other hospitals for treatment.

 According to the Alabama Hospital Association, not including Georgiana Medical Center, six rural hospitals and
 six urban hospitals have closed in Alabama since 2011.



 Alabama State Health Of cer Dr. Scott Harris called the latest closing another sad story in Alabama and said
 small hospitals continue to face serious nancial challenges. He said he continues to be concerned what will
 happen in the coming years.

 Alabama hospitals see a relatively high number of uninsured patients and get a relatively low amount of
 compensation in return.

 Harris said when a hospital closes, it has to notify the Alabama Department of Public Health in order to make
 sure patients are taken care of. Additionally, the community must be noti ed of the closure, and there must be
 a certain amount of time for the hospital to wind down operations, typically a month.

 A news conference is scheduled for Tuesday with of cials from Ivy Creek, LV Stabler, and the city of Greenville
 to discuss the developments.

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